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 9                             IN THE UNITED STATES DISTRICT COURT

10                                EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                       CASE NO. 2:11-CR-00490 JAM
12
                                Plaintiff,           ORDER REQUIRING DANIIL MARKEVICH AND
13                                                   SVETLANA MARKEVICH TO APPEAR ON
                          v.                         NOVEMBER 20, 2014 AT 2 P.M. BEFORE
14                                                   MAGISTRATE JUDGE CAROLYN K. DELANEY
     DANIIL MARKEVICH, and                           FOR HEARING ON MOTION TO COMPEL
15   SVETLANA MARKEVICH,                             COMPLIANCE WITH COURT ORDER

16                              Defendants.

17

18         The Court has reviewed the government’s motion to compel defendants Daniil Markevich and

19 Svetlana Markevich to comply with Magistrate Judge Claire’s October 1, 2014 Order (ECF 160)

20 requiring fingerprint exemplars. IT IS HEREBY ORDERED that defendants Daniil Markevich and

21 Svetlana Markevich shall appear before Magistrate Judge Carolyn K. Delaney at 501 I Street,

22 Sacramento, California, Eighth Floor, Courtroom #24, on November 20, 2014 at 2 p.m. for the hearing

23 on said motion.

24 Dated: November 12, 2014
                                                  _____________________________________
25
                                                  CAROLYN K. DELANEY
26                                                UNITED STATES MAGISTRATE JUDGE

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      ORDER REQUIRING DANIIL AND SVETLANA             1
30    MARKEVICH TO APPEAR
